Case 1:19-cr-00018-ABJ Document 262 Filed 11/18/19 Page 1of11

In the United States District Court
For the District of Columbia

United States of America,
Plaintiff,

Vv. Criminal Action atic 1:19-CR-00018

Smenura bie
NS ——_ i 1 8114

. Jackson Date
United States District Judge

Roger Jason Stone, Jr.,
Defendant.

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DECLARATION OF BRIAN DAVID HILL IN SUPPORT OF ROGER
JASON STONE, CONCERNING CHARACTER WITNESS OF ROGER
STONE, IN SUPPORT OF SENTENCING OR ANY OTHER PURPOSE

I, Brian David Hill, declare pursuant to Title 28 U.S.C. § 1746 and subject to the
penalties of perjury, that the following is true and correct:

I am Brian David Hill. Back in 2017, I had mailed to Roger J. Stone the case files
concerning my federal case: United States of America v. Brian David Hill, case no.
1:13-cr-435-1, Middle District of North Carolina, along with a photograph of
myself, Alex Jones, and Stewart Rhodes. See photographs below:

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Photograph mailed to Roger Stone in asking him to look into my case. See below:
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Brian D. Hill (Left) of formerly USWGO Alternative News (once was uswgo.com
when used to be an operational website), Alex Jones of Infowars.com (Center), and
Stewart Rhodes of OathKeepers.org (Right).

I was also able to call Roger Stone back in 2017 one or more times from what I can
remember and spoke with him about what I had mailed him. He seemed pretty nice
and was dealing with stuff at the time over what I believed was the Russian
Collusion delusion mess that was being talked about on television. I was asking
him and others for help by looking into my federal case files and then consider
asking United States President Donald John Trump to issue for me a “Pardon of
Innocence”, aka a pardon declaring me actually innocent of my wrongful federal
criminal conviction in the United States District Court in Greensboro, North
Carolina.

Roger Stone could have turned me away like the others including the Innocence
Project because my case is complex and not a DNA case. My criminal charge in
2013 carries an extreme stigmatization so lawyers usually do not want to help me
at all unless I pay them piles of money I do not have. I know I have been set up
with a crime, and I feel that Roger Stone may have been set up or doesn’t deserve
his charges, because of the things I have experienced in the Federal Court system
for my case. I have experienced a lot of dirty and underhanded things in my federal
case: frauds upon the court, perjury, subornation of perjury, false facts and
questionable evidence, and despite all of that I was forced against my wishes to
falsely plead guilty to my charge or I would have faced 20 years in Federal Prison

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because my own Defense Attorney Eric David Placke wouldn’t do anything to
fight for me. So I understand how frustrated Roger J. Stone feels. I been there, I
know what it feels like to go through the federal criminal justice system. It is
different than what people were taught in public schools.

So Roger Stone told me over the phone from what I can remember, that he would
take a look at my case files and I believe he may have considered wanting to help
me, after the whole “Russia hoax” or “Russian collusion delusion” (J believe he
said one or the other of those words or something to that effect, I am being truthful
as best as I can remember). From me talking with him over the phone, I pretty
much could tell that he’d thought in 2017 it would end and then he would review
over what I had mailed him and I could have shown him evidence of my actual
innocence that was ignored by Assistant Federal Public Defender Eric David
Placke in Greensboro, North Carolina, who misled me into falsely pleading guilty,
or I would face 20 years in Federal Prison. My family researched the years that he
may be facing and it may be up to possibly 50 years if the calculations are correct.
I do not think he deserves 50 years. He was nice enough to hear me out and accept
my certified mailing and signed the return receipt for my mailing. He didn’t have
to do any of that. He could have cussed me out and would have had the right to do
so since my reputation has been destroyed/assassinated by my federal criminal
case, but Roger didn’t turn the information away as far as I was aware of. He could
never help me because he was charged instead and he is having a difficult time
helping himself from what I heard about Roger Stone and his case. So how could
he help me if he is having a hard time over the stigmatization going on in his case
and being able to feed his family and support himself despite the massive legal
expenditures?

Instead I saw on television earlier this year that he was arrested and I didn’t think
he deserved any of that. A man who had wanted to consider looking into my
criminal case, despite the stigmatization I had to deal with and nobody seems to
care about helping me prove my innocence when they hear the words possession of
a certain kind of material and people turn their ears off and their eyes off, and don’t
care about me trying to prove my innocence since my federal charge back in 2013.
Only people that really do care and want to help me prove my innocence is a few
of my friends and my family. That is all I have left.

If he is to be sentenced, I want this affidavit to be one of the character witness
testimony in writing, in favor of Roger Stone. He didn’t have to consider helping

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me at all, he could have refused to sign the return receipt and cuss me out or make
fun of me like some do when they hear of my criminal charge and don’t want to
see or hear any evidence of my actual innocence in my case. Roger Stone didn’t do
that. I think he isn’t a bad person. I may not personally had known him for a long
time, but I know that if he wasn’t dealing with his own federal criminal charge,
that he would have helped me and tried to persuade Alex Jones of Infowars.com to
reconsider not touching my case with a ten foot pole, and Roger Stone could have
pushed for a pardon of innocence for me. If that had happened, I would have been
saved from my nightmare in the Federal Court system.

I have Autism Spectrum Disorder, being wrongfully convicted is really hard on
me, sometimes difficult for me to deal with and almost breaks me down. Roger
Stone clearly was going to look into my case, and if he had saw the evidence I had
presented in my 2255 case, I believe Roger would have given my evidence to
President Trump personally if he could of or ask President Trump to pardon me for
my innocence. Roger Stone is against the New World Order, and I believe he had
good reasons for wanting to help Donald John Trump get elected.

I believe Roger Stone is of good moral character for the times I had text messaged
him on his cell phone (2017 and 2018). I had spoken with him one or multiple
times over the phone but that was back in 2017 and not as easy to remember.

This federal affidavit is all I plan to file in this court. This is my one-time filing
unless the Clerk or the Court requires me to file anything further. I feel the need to
at least file this to truthfully tell the Court what I personally feel about Roger Stone
based on me text messaging him in the past (2017 and 2018) and calling him back
in 2017.

No lawyer made me file this. This was filed by me under my own volition, and I
wanted to help out Roger Stone. I don’t know if the Clerk will file this particular
Declaration or not, but I hope that it will aid in the case of Roger Stone as best as it
can be for the interest in justice.

Also I had filed some case law in my federal case that I would believe help Roger
Stone’s lawyers in his case. I will cite them here to the best of my knowledge from
what my family had researched and what I got from the FCI-1 Butner law library:

Courts § 225.1; Equity § 47 - power to vacate fraudulent judgment

A federal court has the inherent power to vacate its own judgment upon proof that
a fraud has been perpetrated upon the court; this historic power of equity to set

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aside fraudulently begotten judgments is necessary to the integrity of the courts;
moreover, a federal court has the power to conduct an independent investigation in
order to determine whether the court has been the victim of fraud.

Chambers v. Nasco, Inc., 501 U.S. 32 (1991).

Void order which is one entered by court which lacks jurisdiction over parties or
subject matter, or lacks inherent power to enter judgment, or order procured by
fraud, can be attacked at any time, in any court, either directly or collaterally,
provided that party is properly before court, People ex rel. Brzica v. Village of
Lake Barrington, 644 N.E.2d 66 (Ill. App. 2 Dist. 1994).

A void judgment which includes judgment entered by a court which lacks
jurisdiction over the parties or the subject matter, or lacks inherent power to enter
the particular judgment, or an order procured by fraud, can be attacked at any time,
in any court, either directly or collaterally, provided that the party is properly
before the court. See Long v. Shorebank Development Corp., 182 F.3d 548 (C.A. 7
Ill. 1999).

A void judgment is one that has been procured by extrinsic or collateral fraud or
entered by a court that did not have jurisdiction over the subject matter or the
parties.” Rook v. Rook, 233 Va. 92, 95, 353 S.E.2d 756, 758 (1987)

A void judgment or order is one that is entered by a court lacking jurisdiction over
the parties or the subject matter, or lacking the inherent power to enter the
particular order or judgment, or where the order was procured by fraud, Jn re
Adoption of E.L., 733 N.E.2d 846, (Ill. App. 1 Dist. 2000). Void judgments are
those rendered by court which lacked jurisdiction, either of subject matter or
parties, Cockerham v. Zikratch, 619 P.2d 739 (Ariz. 1980).

Void judgments generally fall into two classifications, that is, judgments where
there is want of jurisdiction of person or subject matter, and judgments procured
through fraud, and such judgments may be attacked directly or collaterally, Irving
v. Rodriquez, 169 N.E.2d 145, (Ill. app. 2 Dist. 1960). Invalidity need to appear on
face of judgment alone that judgment or order may be said to be intrinsically void
or void on its face, if lack of jurisdiction appears from the record, Crockett Oil Co.
v. Effie, 374 S.W.2d 154 ( Mo. App. 1964).

In Stoesel v. American Home, 362 Sel. 350, and 199 N.E. 798 (1935), the court
ruled and determined that, “Under Illinois Law and Federal Law, when any officer
of the Court has committed “fraud on the Court”, the order and judgment of that
court are void and of no legal force and effect.” In Sparks v. Duval County

Ranch, 604 F.2d 976 (1979), the court ruled and determined that, “No immunity

 

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exists for co-conspirators of judge. There is no derivative immunity for extra-
judicial actions of fraud, deceit and collusion.” In Edwards v. Wiley, 374 P.2d
284, the court ruled and determined that, “Judicial officers are not liable for
erroneous exercise of judicial powers vested in them, but they are not immune
from liability when they act wholly in excess of jurisdiction.” See also, Vickery v.
Dunnivan, 279 P.2d 853, (1955). In Beall v. Reidy, 457 P.2d 376, the court ruled
and determined, “Except by consent of all parties a judge is disqualified to sit in
trial of a case if he comes within any of the grounds of disqualification named in
the Constitution. In Taylor v. O’Grady, 888 F.2d 1189, 7" Cir. (1989), the circuit
ruled, “Further, the judge has a legal duty to disqualify, even if there is no motion
asking for his disqualification.” Also, when a lower court has no jurisdiction to
enter judgment, the question of jurisdiction may be raised for the first time on
appeal. See DeBaca v. Wilcox, 68 P. 922. The right to a tribunal free from bias
and prejudice is based on the Due Process Clause. Should a judge issue any order
after he has been disqualified by law, and if the party has been denied of any of
his/her property, then the judge has engaged in the crime of interference with
interstate commerce; the judge has acted in his/her personal capacity and not in the
judge’s judicial capacity. See U.S. v. Scinto, 521 F.2d 842 at page 845, 7" circuit,
1996. Party can attack subject matter jurisdiction at anytime in the proceeding,
even raising jurisdiction for the first time on appeal, State v. Begay, 734 P.2d
278. “A prejudiced, biased judge who tries a case deprives a party adversely
affected of due process.” See Nelson v. Cox, 66 N.M. 397.

“Where a court failed to observe safeguards, it amounts to denial of due process
of law, court is deprived of juris.” Merritt v. Hunter, C.A. Kansas 170 F2d 739.

I hope these cases will help aid Roger Jason Stone and his lawyers for seeking
justice in our courts.

Again, this is all I wish to file and don’t wish to file anything other than what I had
personal knowledge of by ear when speaking to Roger Stone over the phone in
2017, over him signing my return receipt, and over me text messaging him
sometime in the past (2017 and 2018).

I declare under penalty of perjury that the foregoing is true and correct,
Executed on November 8, 2019.

Respectfully submitted,
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Signed
Brian D. Hill (Pro Se)

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Former U.S.W.G.O. Alternative News reporter

I stand with QANON/Donald-Trump — Drain the Swamp

Task Qanon and Donald John Trump for Assistance for Roger Stone (S.O.S.)
Friend’s justice site: JusticeForUSWGO.wordpress.com

Respectfully filed with the Court, this the 8th day of November, 2019.

Respectfully submitted,

rian_D. Hil

Signed
Brian D. Hill (Pro Se)

USWG.O.

Former U.S.W.G.O. Alternative News reporter

I stand with QANON/Donald-Trump — Drain the Swamp

I ask Qanon and Donald John Trump for Assistance for Roger Stone (S.O.S.)
Friend’s justice site: JusticeForUS WGO.wordpress.com

   

Declaration Filer Brian David Hill also requests with the Court that a copy of this
pleading be served upon the Government and all counsel of record as stated in 28
U.S.C. § 1915(d), that “The officers of the court shall issue and serve all process,

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and preform all duties in such cases. Witnesses shall attend as in other cases, and
the same remedies shall be available as are provided for by law in other cases”.
Brian David Hill requests that copies be served with the the Government and all
counsel of record via CM/ECF Notice of Electronic Filing ("NEF") email, by
facsimile if the Government consents, or upon U.S. Mail. Thank You!

CERTIFICATE OF SERVICE

Declaration Filer Brian David Hill certifies that on November 8, 2019, service was
made by mailing the original of the foregoing:

“DECLARATIONJ OF BRIAN DAVID HILL IN SUPPORT OF ROGER
JASON STONE, CONCERNING CHARACTER WITNESS OF ROGER
STONE, IN SUPPORT OF SENTENCING OR ANY OTHER PURPOSE”

by deposit in the United States Post Office, in an envelope (certified mail, tracking
no. 7019-1640-0002-1404-3677), Postage prepaid, on November 8, 2019
addressed to the Clerk of the Court in the U.S. District Court, for the District of
Columbia, 333 Constitution Avenue N.W., Washington D.C. 20001, Room 1225.

Then pursuant to 28 U.S.C. §1915(d), Declaration Filer Brian David Hill requests
that the Clerk of the Court move to electronically file the foregoing using the
CMIECF system which will send notification of such filing through CM/ECF to
the following parties to be served in this action:

 

 

 

 

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Lawrence Rush Atkinson

 

 

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This is pursuant to Declaration Filer Brian David Hill’s "In forma Pauperis"
("IFP") status, 28 U.S.C. §1915(d) that "The officers of the court shall issue and
serve all process, and perform all duties in such cases ... "the Clerk shall serve
process via CM/ECF to serve process with all parties.

 

Date of signing:

November 3 2019

 

 

 

Respectfully submitted,

Bring Ppl

Brian D. Hill (Pro Se)

URN KERO}
Former U.S.W.G.O. Alternative News
reporter

I stand with QANON/Donald-Trump — Drain
the Swamp

I ask Qanon and Donald John Trump for
Assistance for Roger Stone (S.O.S.)

Friend’s justice site:
JusticeForUSWGO.wordpress.com

 

   

 

 

I ask Qanon for help in protecting me from corruption and criminal behavior of

Government. So help me God.

il
